            Case 1:19-cv-03179-FVS                    ECF No. 15         filed 09/11/20     PageID.726 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                                                                 FILED IN THE
                                                                                                             U.S. DISTRICT COURT
                                                                                                       EASTERN DISTRICT OF WASHINGTON
                                                                   for thH_
                                                      Eastern District of Washington                    Sep 11, 2020
                                                                                                              SEAN F. MCAVOY, CLERK

                          MARTIN M.,
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 1:19-CV-03179-FVS
                                                                     )
              ANDREW M. SAUL,                                        )
       COMMISSIONER OF SOCIAL SECURITY,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 10, is GRANTED, and the matter is REMANDED to the
u
              Commissioner for additional proceedings consistent with this Order.
              Defendant’s Motion for Summary Judgment, ECF No. 11, is DENIED.
              Application for attorney fees may be filed by separate motion.
              Judgment entered in favor of Plaintiff.

This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge               Stanley A. Bastian                                           on a motions for summary judgment.




Date: September 11, 2020                                                     CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Sara Gore
                                                                                           %\ Deputy Clerk

                                                                             Sara Gore
